               Case MDL No. 3004 Document 1 Filed 04/07/21 Page 1 of 2




                                BEFORE THE UNITED STATES
                                   JUDICIAL PANEL ON
                                MULTIDISTRICT LITIGATION

IN RE: PARAQUAT                                    §          MDL NO. ___________
PRODUCTS LIABILITY                                 §
LITIGATION                                         §

      PLAINTIFF’S MOTION FOR TRANSFER OF ACTIONS TO THE NORTHERN
    DISTRICT OF CALIFORNIA PURSUANT TO 28 U.S.C. § 1407 FOR COORDINATED
                 OR CONSOLIDATED PRETRIAL PROCEEDINGS

         Movant Paul Rakoczy, Plaintiff in a civil action pending in the United States District Court

for the Northern District of California before the Honorable Edward M. Chen, 1 moves this Panel

for an order pursuant to 28 U.S.C. § 1407 transferring the actions identified in the attached

Schedule of Actions to the Northern District of California for coordinated or consolidated pretrial

proceedings, and would respectfully show as follows:

         1.     This litigation involves the herbicide paraquat, which has been shown to cause

Parkinson’s Disease. Movant and plaintiffs listed in the Schedule of Actions have suffered the

same injury (Parkinson’s Disease) as a result of exposure to the same toxin (paraquat) and bring

the same or substantially similar personal injury causes of action against the same defendants—

Chevron U.S.A., Inc., Syngenta Crop Protection L.L.C., and Syngenta AG.

         2.     Movant proposes transfer to the Honorable Edward M. Chen of the Northern

District of California for three reasons. First, Judge Chen has previously shown his ability to

successfully resolve multidistrict litigation and repeatedly has been recognized by the Panel as an

accomplished jurist skilled at steering multidistrict litigation. Second, Judge Chen currently

presides over the lowest-numbered paraquat-related personal injury case out of the five such cases

filed in the Northern District of California. Third, Chevron U.S.A. has its principal place of


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    Rakoczy v. Syngenta Crop Protection LLC, et al., No. 4:21-cv-02083-EMC (N.D. Cal.).


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              Case MDL No. 3004 Document 1 Filed 04/07/21 Page 2 of 2




business in the Northern District of California where Judge Chen sits.

       3.      As indicated in the Schedule of Actions, there are currently fourteen related cases

pending in six different federal courts across the country. Transferring these actions to a single

court will not only conserve judicial and party resources, but will also avoid the risk of inconsistent

pretrial rulings given the number of courts and the complicated common legal and factual issues

involved in the cases.

       Movant therefore respectfully requests, for these reasons and the ones more fully

articulated in the memorandum of authorities filed herewith, that the Panel transfer the cases listed

on the attached Schedule of Actions, and any subsequently filed related actions, to Judge Edward

Chen of the Northern District of California.

                                               Respectfully Submitted,

                                               /s/ S. Ann Saucer
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                                               Movant Paul Rakoczy and Plaintiffs Gerald Gray,
                                               Michael and Jean Kearns, Todd Tenneson, and
                                               Kenneth Turner




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